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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES et al.,                       )
       Plaintiffs,                              )       Civil Action No. 3:17-cv-00072
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER et al.,                         )       By:    Joel C. Hoppe
       Defendants.                              )              United States Magistrate Judge


         This matter is before the Court on pro se Defendant Christopher Cantwell’s “Motion for

  Accommodations.” ECF No. 837. Cantwell, who is currently incarcerated, seeks an extension of

  time to respond to Plaintiffs’ First Request for Admissions, copies of certain court filings, and an

  order continuing the trial date until early next year. On September 14, 2020, the presiding

  District Judge reset the matter for a four-week jury trial tentatively scheduled to begin on April

  26, 2021, and granted Cantwell’s oral motion for an additional thirty days to respond to

  Plaintiffs’ written discovery requests. ECF Nos. 873, 881. Accordingly, Cantwell’s scheduling

  requests are DENIED as MOOT.

         Cantwell’s request for a copy of his own “Objection to Plaintiffs’ Motion for Evidentiary

  Sanctions” against Defendant Elliott Kline, ECF No. 637, and Plaintiffs’ Second Amended

  Complaint, ECF No. 557, is GRANTED. Nonetheless, the Court reminds Cantwell that litigants

  are responsible for keeping copies of their own court filings for their records. Cantwell’s request

  for “copies of all relevant orders and agreements regarding discovery in this case” is DENIED.

  See ECF No. 887. This request is too vague, and the Court is not responsible for determining

  which orders and filings a litigant deems relevant. Cantwell may contact the Clerk’s Office if

  there are any specific court orders for which he would request an additional paper copy.

         IT IS SO ORDERED.

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        The Clerk shall send a copy of this Order to the parties.

                                                      ENTER: October 5, 2020



                                                      Joel C. Hoppe
                                                      U.S. Magistrate Judge




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